                             IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE

 UNITED STATES OF AMERICA,                     )
                                               )
                                Plaintiff,     )
                        v.                     )       No. 3:05-CR-32
                                               )       (PHILLIPS/GUYTON)
 STEVE SHIPLEY,                                )
 JEREMY ROBBINS,                               )
 DIANE SHANDS ROBBINS,                         )
 VAIRAME TEDESCO,                              )
 SIDNEY DOUGLAS ADAMS, and                     )
 SHEILA ADAMS,                                 )
                       Defendants.             )


                                 MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court as

 may be appropriate. The parties came before the Court on November 9, 2005, for a scheduled

 evidentiary hearing on pending motions. Assistant United States Attorney Hugh B. Ward, Jr.,

 represented the government. The following defense counsel were present: Randall E. Reagan

 representing Steve Shipley, James A.H. Bell and Richard Gaines representing Jeremy Robbins, Jeff

 Daniels representing Diane Shands Robbins, Joel S. Walter and Jonathan Cooper representing Vairame

 Tedesco, Ralph Harwell and Tracy Smith representing Sidney Douglas Adams, Mike Whalen

 representing Sheila Adams, and Donald A. Bosch representing William S. Denton, III.1 Defendants

 Jeremy Robbins, Diane Shands Robbins, and Vairame Tedesco were also present. The remaining

 defendants were excused from the hearing, having entered into signed plea agreements with the

 government.



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         Defendant Denton was charged in the Superseding Indictment [Doc. 23] but is not
 charged in the Second Superseding Indictment [Doc. 191].

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        At the hearing, the government announced that Defendants Sidney Douglas Adams, Sheila

 Adams, and Steve Shipley had entered into signed plea agreements the previous evening. The parties

 made a joint, oral motion to continue the two-day motion hearings in order to determine what motions

 needed to be heard in light of the aforementioned plea agreements. The parties also need time to

 prepare and clarify the scope of the remaining motions. All defense counsel whose clients remain in

 the case agreed with the need to continue the hearing. Defense counsel for those defendants who have

 entered into plea agreements had no position on the requested continuance.

        The Court finds the joint, oral motion to continue the motion hearings to be well-taken. The

 Court notes that there are presently seventy-seven motions pending in the case. Codefendants have

 asked to join in the bulk of these motions. The Court finds that the need to clarify and prepare those

 motions that will be pursued by the remaining defendants constitutes good cause for a continuance of

 the motion hearing. Accordingly, the joint, oral motion to continue the motion hearings in this case

 is GRANTED. The motion hearings are reset to January 9 and 10, 2006, at 9:00 a.m. The

 government and counsel for Mr. and Mrs. Robbins and Ms. Tedesco have agreed to confer and provide

 the Court with a list of those motions that will be heard on these dates.

        Attorney Bell requested that the Court direct the witnesses subpoenaed for the November 9

 hearing to reappear on January 9 pursuant to the same subpoena. The government had no objection

 to this request. The Court ORDERS that the subpoenas issued for witnesses to appear for the

 November 9 hearing will remain effective for the January 9, 2006 hearing.

        IT IS SO ORDERED.

                                                ENTER:


                                                      s/ H. Bruce Guyton
                                                United States Magistrate Judge




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